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                BERKELY CHARTER EDUCATION ASSOCIATION, INC.
                       School Administrator Personnel Policy


The Board of Directors of Berkeley Charter Education Association, Inc. (“BCEA” that “the
Board”) deems the senior executive of a school (variously known as the “principal,” or the “head
of school,” or the “school administrator,” and hereinafter referred to as the School
Administrator) to be the critical basis of stability, leadership, excellence, and implementation of
the Board’s oversight and guidance for BCEA schools. The Board finds that continuity and long
service is preferred in a School Administrator.

IT IS THE POLICY of the Board to directly participate in and control the hiring, selection,
instruction, discipline, compensation, and termination of the School Administrator.

Management Agreements -- Up through the adoption of this formal policy, BCEA has contracted
with a management company for two of its schools, Berkeley Preparatory Academy (“BPA”) and
Mevers School of Excellence (“Mevers”). The Management Agreements for each of the two
schools provide that the School Administrator would be be a supervised employee of the
management company, but that the management company “shall consult with the Board with
respect to the hiring of the School Administrator, and [the management company] shall remove
the School Administrator from the Charter School if the Board is reasonably dissatisfied with his
or her performance.” This language respects the ultimate authority of the Board for the success
of the School as also recited in Art. IIIA; however, to date there have been three (3) School
administrators in three (3) years at BPA, and five (5) School Administrators at Mevers in seven
(7) years. The Board’s policy is to make a change in this procedure and structure whereby the
Board will directly employ the School Administrator. It is expected that the management
company will comply by agreement with this Policy, and proceed with orderly transition to this
structure.

Authority – The Board enacts this Policy pursuant to its ultimate authority over its charter
schools pursuant to the South Carolina Charter Schools Act of 1996. The Board further acts in
accordance with the respect Charter School Contracts it has entered into with the Charter
Institute at Erskine’s Board of Directors (the “Sponsor”) for BPA and Mevers, both of which
provide that “No provision of the EMO contract shall interfere with the charter school board’s
duty to exercise its statutory, contractual, and fiduciary responsibilities governing the operation
of the school.” The Board considers the welfare of students to be at risk based on the lack of
committed, long-serving leadership at each School.

Procedure – This Policy is intended to be effective immediately for hiring in process, and for
transition of existing employees. It is the intent of the Board to seek express approval by the
Sponsor of this Policy, and an express amendment to the Charter Contract in conformance
therewith.




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